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                           IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                          TYLER DIVISION

 CHRISTOPHER BESHIRS, #1792693                   §

 VS.                                             §                CIVIL ACTION NO. 6:18cv529

 DIRECTOR, TDCJ-CID                              §

                                        ORDER OF DISMISSAL

         Petitioner Christopher Beshirs, a prisoner confined at the Stevenson Unit within the Texas

 Department of Criminal Justice (TDCJ) proceeding pro se and in forma pauperis, filed this federal

 petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254 challenging a judgment of

 conviction from Smith County, Texas. The petition was referred to United States Magistrate

 Judge, the Honorable John D. Love, for findings of fact, conclusions of law, and recommendations

 for the disposition of the petition.

         On September 17, 2020, Judge Love issued a Report, (Dkt. #19), recommending that

 Petitioner’s federal habeas petition be dismissed, with prejudice, as time-barred. Judge Love also

 recommended that Petitioner be denied a certificate of appealability sua sponte. A copy of this

 Report was sent to Petitioner at his address, with an acknowledgment card. Petitioner has filed

 timely objections, (Dkt. #21).

         The Court has conducted a careful de novo review of record and the Magistrate Judge’s

 proposed findings and recommendations. See 28 U.S.C. §636(b)(1) (District Judge shall “make a

 de novo determination of those portions of the report or specified proposed findings or

 recommendations to which objection is made.”). Upon such de novo review, the Court has




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 determined that the Report of the United States Magistrate Judge is correct and Petitioner’s

 objections are without merit. Accordingly, it is

         ORDERED that Petitioner’s objections, (Dkt. #21), are overruled and the Report of the

 Magistrate Judge, (Dkt. #19), is ADOPTED as the opinion of the District Court. It is also

         ORDERED that the above-styled civil action is DISMISSED with prejudice as time-

 barred. Moreover, it is

         ORDERED that Petitioner Beshirs is DENIED a certificate of appealability sua sponte.

 Finally, it is

         ORDERED that any and all motions which may be pending in this civil action are hereby

 DENIED.

          SIGNED this the 1 day of October, 2020.




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                                       Thad Heartfield
                                       United States District Judge




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